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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                Case No. 12-CV-61678-COOKE/Tumoff

    IRONSHORE INDEMNITY, INC.,

           Plaintiff,

    vs.

    BANYON 1030-32, LLC, BANYON
    FUNDING, LLC, BANYON CAPITAL,
    LLC, BANYON INVESTMENTS, LLC
    (NEVADA), BANYON RESOURCES,
    LLC, BANYON INCOME FUND, LP,
    AND BANYON USVI, LLC,

           Defendants.
    ______________/
                                                ORDER

           THIS CAUSE came before the Court upon RLI Insurance Company, Columbia Casualty

    Company and Zurich American Insurance Company's Motion for Sanctions Against the Trustee and

    Banyon Entities (ECF No. 264), and Defendant Harden & Associates, Inc.'s Emergency Motion for

    Protective Order (ECF No. 269). A hearing was held before the undersigned on March 19, 2014.

    (ECF No. 276). The Court has considered the written and oral arguments, the record, the applicable

    law, and is otherwise duly advised in the premises.

                                         Motion for Sanctions

           The parties last appeared before the undersigned for a hearing on February 25, 2014, in

    connection with a Motion to Compel the Banyon Entities to Appear for a Rule 30(b)(6) Deposition

    filed by RLI Insurance Company, Columbia Casualty Company and Zurich American Insurance



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   Company ("Insurance Companies"). (ECF No. 239). At the hearing, the parties announced that they

   had agreed upon a framework for resolving the issue of the Rule 30(b)(6) depositions. On February

   28, 2014, the Court entered an Order memorializing the oral pronouncement granting the motion.

   (ECF No. 259). The Order provided that the Insurance Companies were entitled to have the Non-

   Debtor Banyon Entities produce a Rule 30(b)(6) representative for deposition, whether or not the

   prior individual testimony was adopted as corporate testimony, and that neither George Levin nor

   Frank Preve could be compelled to serve as corporate representatives. It further indicated that the

   Banyon Entities could hire someone if there was no one that could be designated as the

   representative.

          The Insurance Companies filed the instant motion for sanctions against the Trustee and the

   Banyon Entities for failure to produce a Rule 30(b)(6) representative for deposition as required by

   the Court Order. (ECF No. 264).The Trustee argued that he complied fully with the Court's Order.

   (ECF No. 272). According to various emails attached to the response, the Trustee indicated that he

   advised he would be produced in both his individual capacity and as a 30(b)(6) representative for the

   Non-Debtor Banyon Entities. The Trustee was educated to testify as to a group oftopics and adopted

   the testimony of Levin and Preve as well as other witnesses with respect to the remaining topics. The

   Trustee had further advised the Insurance Companies that, if after taking the additional depositions

   they believed they needed corporate testimony on particular areas, the Trustee would provide an

   educated witness. The Trustee also noted an objection to topics 33 and 34 based upon settlement and

   mediation confidentiality agreements. The undersigned overruled the objection.

          After considering the arguments ofthe parties, the Court's prior ruling, the Scheduling Order,

   and the applicable law, the undersigned finds that the Trustee must produce a Rule 30(b)(6)


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   corporate representative to provide testimony on behalf of all the Non-Debtor Banyon Entities.

   Messrs. Levin and Preve shall be present at the deposition of such witness and available for

   consultation by the witness. The deposition must take place prior to April4, 2014. Counsel for the

   Insurance Companies indicated that he would be issuing are-notice of deposition to the Trustee with

   amended topics by March 26,2014.

                                     Motion for Protective Order

          Harden & Associates, Inc. is a former defendant in this action that was dismissed on August

   30, 2013, when the Court granted its Motion to Dismiss. (ECF No. 289). The Trustee set the

   deposition of Harden's corporate representative for March 26, 2014. However, Harden has indicated

   that the designated corporate representative, as well as Harden's attorneys, would be unavailable on

   that date. Moreover, the corporate representative was involved in a month-long trial that was

   beginning on March 24,2014. Pursuant to the Scheduling Order, the discovery deadline expires on

   March 31, 2014. However, the parties were in agreement to schedule the deposition after the

   deadline.

          Upon noting several times that the Scheduling Order entered by Judge Cooke shall not be

   altered and shall continue to govern the progress ofthis case, the undersigned allowed the parties to

   conduct the deposition of Harden's corporate representative prior to May I, 2014.

                                               Conclusion

          Accordingly, consistent with the instructions given in open court and the oral pronouncement

   of this ruling, it is hereby ORDERED AND ADJUDGED that:

          I.      RLI Insurance Company, Columbia Casualty Company and Zurich American

   Insurance Company's Motion for Sanctions Against the Trustee and Banyon Entities (ECF No. 264)

   is DENIED as to the request for sanctions, but GRANTED with respect to setting the deposition

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    of the Non-Debtor Banyan Entities' corporate representative; and

                 2.            Defendant Harden & Associates, Inc.'s Emergency Motion for Protective Order (ECF

    No. 269) is DEEMED MOOT.

                 DONE AND ORDERED in Chambers at Miami, Florida,                 t~ -'day of March 2014.



                                                                   United States Magistrate Judge
    cc: Hon. Marcia G. Cooke
      All Counsel of Record




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